 1                                      THE HONORABLE BARBARA J. ROTHSTEIN

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 8                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WASHINGTON
 9                                 AT SEATTLE
10
   VULCAN LLC; FOOTBALL NORTHWEST
11 LLC; TRAIL BLAZERS INC;                   No.: 2:21-cv-00336-BJR
   EXPERIENCE LEARNING COMMUNITY
12 (dba MoPOP); FIRST & GOAL INC.; and       STIPULATED MOTION AND ORDER TO
   RIP CITY MANAGEMENT LLC,                  EXTEND DEFENDANTS' DEADLINE TO
13                                           ANSWER OR OTHERWISE RESPOND
                     Plaintiffs,             TO PLAINTIFFS' FIRST AMENDED
14                                           COMPLAINT
         v.
15
   ZURICH AMERICAN INSURANCE
16 COMPANY; INTERSTATE FIRE &
   CASUALTY COMPANY; DOES 1-100;
17 THOSE CERTAIN UNDERWRITERS AT
   LLOYD’S LONDON SUBSCRIBING TO
18 POLICY NO. BOWPN1900599;
   THOSE CERTAIN UNDERWRITERS AT
19 LLOYD’S LONDON SUBSCRIBING TO
   POLICY NO. BOWPN1900606; THOSE
20 CERTAIN UNDERWRITERS AT
   LLOYD’S LONDON SUBSCRIBING TO
21 POLICY NO. BOWNP1900601; THOSE
   CERTAIN UNDERWRITERS AT
22 LLOYD’S LONDON SUBSCRIBING TO
   POLICY NO. BOWPN1900820; THOSE
23 CERTAIN UNDERWRITERS AT
   LLOYD’S LONDON SUBSCRIBING TO
24 POLICY NO. BOWPN1900772; EVEREST
   INDEMNITY INSURANCE COMPANY;
25 ARCH SPECIALTY INSURANCE
   COMPANY; ENDURANCE AMERICAN
26 SPECIALTY INSURANCE COMPANY;
     STIPULATED MOTION AND ORDER TO EXTEND DEFENDANTS'   PAGE 1   Bullivant|Houser|Bailey PC
     DEADLINE TO ANSWER OR OTHERWISE RESPOND TO                   925 Fourth Avenue, Suite 3800
                                                                  Seattle, Washington 98104
     PLAINTIFFS' FIRST AMENDED COMPLAINT                          Telephone: 206.292.8930
     NO.: 2:21-CV-00336-BJR
 1 CONTINENTAL CASUALTY COMPANY;
   DOES 101-200; WESTPORT INSURANCE
 2 CORPORATION; GREAT LAKES
   INSURANCE SE; INTERNATIONAL
 3 INSURANCE COMPANY OF HANNOVER
   SE; EVANSTON INSURANCE
 4 COMPANY; DOES 201-300; PARTNER RE
   IRELAND INSURANCE DAC; DOES 301-
 5 400; DOES 401-500,

 6                         Defendants.

 7
                                           STIPULATION
 8
            Plaintiffs and Defendants, by and through their attorneys, agree that Defendants shall
 9

10 have until July 7, 2022 to answer or otherwise respond to Plaintiffs’ First Amended
11 Complaint (Dkt 64). Plaintiffs and Defendants further agree that in so extending this

12 deadline, neither Plaintiffs nor Defendants waive any right, claim, or defense in this action,

13
     with the sole exception that Defendants agree not to challenge service under Rules 12(b)(4)
14
     and 12(b)(5) of the Federal Rules of Civil Procedure.
15
            DATED: May 27, 2022
16

17 GORDON TILDEN THOMAS &                          BULLIVANT HOUSER BAILEY PC
   CORDELL, LLP
18
                                                   By: s/ Daniel R. Bentson
19 By: s/ Greg Pendleton                             Daniel R. Bentson, WSBA #36825

20     Dale L. Kingman, WSBA #07060
                                                   Email: dan.bentson@bullivant.com
       Greg D. Pendleton, WSBA #38361
21     Samantha Pitsch, WSBA #54190
                                                   HINSHAW & CULBERTSON
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23        spitsch@gordontilden.com                   Courtney Murphy, pro hac vice
                                                          (pending)
24
     Attorneys for Plaintiff                       Email: courtney.murphy@hinshaw.com
25
                                                   Attorneys for Defendants Certain
26
                                                   Underwriters at Lloyd’s London
     STIPULATED MOTION AND ORDER TO EXTEND DEFENDANTS'              PAGE 2    Bullivant|Houser|Bailey PC
     DEADLINE TO ANSWER OR OTHERWISE RESPOND TO                               925 Fourth Avenue, Suite 3800
                                                                              Seattle, Washington 98104
     PLAINTIFFS' FIRST AMENDED COMPLAINT                                      Telephone: 206.292.8930
     NO.: 2:21-CV-00336-BJR
 1                                             Subscribing to Policy Nos.
                                               BOWPN1900599 and BOWPN1900606,
 2                                             and Partner Re Ireland Insurance DAC
 3 CLYDE & CO. US, LLP                         FORSBERG & UMLAUF, P.S.
 4
 5                                             By: s/ Carl E. Forsberg
   By: s/ Susan K. Sullivan
                                                 Carl E. Forsberg, WSBA #17025
 6     Susan K. Sullivan, WSBA #21725
                                               Email: cforsberg@foum.law
 7 Email: susan.sullivan@clydeco.us

 8 Attorneys for Defendants Endurance          ZELLE, LLP
   American Specialty Insurance Company,
 9 Continental Casualty Company, and           By: s/ Jonathan R. MacBride
   Certain Underwriters at Lloyd’s London        Jonathan R. MacBride, pro hac vice
10 Subscribing to Policy No. BOWPN1900601        Matthew L. Gonzalez, pro hac vice
11
                                               Email: jmacbride@zelle.com
12                                                   mgonzalez@zelle.com

13
                                               Attorneys for Defendants Everest Indemnity
14                                             Insurance Company, Arch Specialty
                                               Insurance Company, Great Lakes Insurance
15                                             SE, International Insurance Company of
16                                             Hannover, SE, and Certain Underwriters at
                                               Lloyd’s London Subscribing to Policy Nos.
17                                             BOWPN1900599, BOWPN1900820, and
                                               BOWPN19007722
18
     DLA PIPER, LLP (US)                       REED MCCLURE
19
20 By: s/ Anthony Todaro
                                               By: s/ Marilee C. Erickson
       Anthony Todaro, WSBA #30391               Marilee C. Erickson, WSBA #16144
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22 Email: anthony.todaro@dlapiper.com          Email: merickson@rmlaw.com
23 Attorneys for Defendant Interstate Fire &   DICKINSON WRIGHT, PLLC
   Casualty Company and Westport Insurance
24 Corporation
                                               By: s/ P. Bruce Converse
25                                               P. Bruce Converse, pro hac vice

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     STIPULATED MOTION AND ORDER TO EXTEND DEFENDANTS'        PAGE 3   Bullivant|Houser|Bailey PC
     DEADLINE TO ANSWER OR OTHERWISE RESPOND TO                        925 Fourth Avenue, Suite 3800
                                                                       Seattle, Washington 98104
     PLAINTIFFS' FIRST AMENDED COMPLAINT                               Telephone: 206.292.8930
     NO.: 2:21-CV-00336-BJR
 1
                                                      Attorneys for Defendants Evanston
 2                                                    Insurance Company
 3 GORDON THOMAS HONEYWELL, LLP

 4
 5
   By: s/ Michael E. Ricketts
 6     Michael E. Ricketts, WSBA No. 9387

 7 Email: mricketts@gth-law.com

 8 Attorneys for Defendant Zurich American
   Insurance Company
 9

10
                        DATED this 27th day of May, 2022.
11

12                                                          _______________________________
13                                                          BARBARA J. ROTHSTEIN
                                                            UNITED STATES DISTRICT JUDGE
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     4865-7300-5856.1

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     STIPULATED MOTION AND ORDER TO EXTEND DEFENDANTS'                PAGE 4   Bullivant|Houser|Bailey PC
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